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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


THE LOCK LOFT, LLC,                               )
                                                  )
        Plaintiff                                 )        Case No. 1:20-cv-00122 (Erie)
                                                  )
vs.                                               )
                                                  )        RICHARD A. LANZILLO
ERIE INSURANCE PROPERTY                           )        UNITED STATES MAGISTRATE JUDGE
& CASUALTY COMPANY                                )
doing business as                                 )
ERIE INSURANCE EXCHANGE,                          )        ORDER ON PLAINTIFF’S MOTION
                                                  )        FOR LEAVE TO FILE AMENDED
                                                  )        COMPLAINT
        Defendant                                 )        [ECF No. 26]
                                                  )

        The Plaintiff’s motion to file an Amended Complaint is GRANTED. The Clerk of Court is

hereby instructed to detach the Exhibit, docketed at ECF No. 26-1, and re-docket it as the

Amended Complaint. The Exhibit docketed at ECF No. 26-2 should likewise be re-docketed as an

Exhibit to the Amended Complaint. Counsel is reminded that:

                Given that motions filed pursuant to Federal Rule of Civil Procedure
                12(b) are discouraged if the defective pleading is curable by
                amendment, the Court requires that the parties confer prior to the
                filing of such a motion to determine whether it can be avoided. The
                duty to meet and/or confer extends to parties appearing pro se but
                does not apply to incarcerated pro se litigants. Consistent with this
                rule, the party moving for dismissal must attach a certificate to their
                motion stating that they have made good faith efforts to confer with
                the non-moving party in order to determine whether the identified
                pleading deficiencies may be cured by amendment. Motions to
                Dismiss that do not contain the required certificate will be summarily
                denied.

U.S. Magistrate Judge Richard Lanzillo; Chambers Practice and Procedures, Section II(D) (available at

www.pawd.uscourts.gov).

        The Defendant’s pending Motion to Dismiss (ECF No. 13) does not contain a Certificate of

Conferral, and the Plaintiff’s motion to file an Amended Complaint does not indicate that any

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discussions took place between counsel prior to the filing of the motion to amend. See ECF No. 27.

Therefore, the Defendant’s Motion to Dismiss (ECF No. 13) is hereby DENIED, without

prejudice to it being re-filed once the Amended Complaint has been properly docketed and served

on any newly named Defendants.

       Entered and Ordered this 18th day of September, 2020.




                                                     __________________________
                                                     RICHARD A. LANZILLO
                                                     United States Magistrate Judge




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